            Case 17-13179-amc                   Doc         Filed 07/19/24 Entered 07/19/24 17:00:27                     Desc Main
 Fill in this information to identify the case:
                                                            Document      Page 1 of 6
 Debtor 1
                       Christopher R Smialowski

 Debtor 2
 (Spouse, if filing)   Michelle Smialowski

 United States Bankruptcy Court for the: Eastern     District of             Pennsylvania
                                                                             (State)
 Case number           17-13179-amc




Form 4100R
Response to Notice of Final Cure Payment                                                                                          10/15
According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.


 Part 1:       Mortgage Information
                                                                                                    Court claim no. (if known):
 Name of Creditor:          U.S. Bank Trust National Association, not in its individual             6
                            capacity, but solely as Trustee of LSF10 Master Participation
                            Trust

 Last 4 digits of any number you use to identify the debtor’s account: XXXXXX0347

 Property address:                       3013 Belgrade St
                                         Number          Street

                                         Philadelphia, PA 19134
                                         City                  State        ZIP Code

 Part 2:       Pre-petition Default Payments
 Check one:
  Creditor agrees that the debtor(s) have paid in full the amount required to cure the pre-petition default
   on the creditor’s claim
  Creditor disagrees that the debtor(s) have paid in full the amount required to cure the pre-petition
   default on the creditor’s claim. Creditor asserts that the total pre-petition amount remaining unpaid
                                                                                                                                  $________
   as of the date of this response is:

 Part 3:       Post-petition Mortgage Payment
 Check one:
   Creditor states that the debtor(s) are current with all post-petition payments consistent with § 1322(b)(5)
  of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

     The next post-petition payment from the debtor(s) is due on:
                                                                                  MM/DD/YYYY

  Creditor states that the debtor(s) are not current on all post-petition payments consistent with § 1322(b)(5)
     of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

     Creditor asserts that the total amount remaining unpaid as of the date of this response is:
     a. Total post-petition payments due:                                                                         (a) $             781.47
     b.     Total fees, charges, expenses, escrow, and costs outstanding                                        +(b) $            3,785.51
            Less Suspense                                                                                                           (14.82)
     c.     Total. Add lines a and b                                                                              (c) $           4,552.16
     Creditor asserts that the debtor(s) are contractually
     Obligated for the post-petition payment(s) that first became
     Due on:                                                                           07/01/2024
     Post-petition payment due is from 7/1/2024 @$781.47.                              MM/DD/YYYY
     There are fees due in the amount of $3,785.51 that are
     outstanding, and these fees are listed on the Post-Petition Fee
     Notices filed on 4/11/2018, 6/8/2018, 6/22/2018, and 4/30/2024.




 Form 4100R                                        Response to Notice of Final Cure Payment                                          Page | 1
          Case 17-13179-amc                      Doc        Filed 07/19/24 Entered 07/19/24 17:00:27                                      Desc Main
                                                            Document      Page 2 of 6
   Debtor 1           Christopher R Smialowski                                                                 Case number 17-13179-amc
                      First Name Middle Name         Last Name


Part 4:       Itemized Payment History


If the creditor disagrees in Part 2 that the pre-petition arrearage has been paid in full or states in Part 3 that the
debtor(s) are not current with all post-petition payments, including all fees, charges, expenses, escrow, and costs,
the creditor must attach an itemized payment history disclosing the following amounts from the date of the
bankruptcy filing through the date of this response:
     all payments received;
     all fees, costs, escrow, and expenses assessed to the mortgage; and
     all amounts the creditor contends remain unpaid.


Part 5:       Sign Here


The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
proof of claim.

Check the appropriate box:
 I am the creditor
 I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this response is true and correct
to the best of my knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different
from the notice address listed on the proof of claim to which this response applies.



                      /s/Toni Townsend                                                                      Date    07/19/2024
                      Signature


Print                 Toni Townsend                                                                         Title   Authorized Agent for the Creditor
                      First Name           Middle Name           Last Name



Company               McCalla Raymer Leibert Pierce, LLC


If different from the notice address listed on the proof of claim to which this response applies:




Address               1544 Old Alabama Road
                      Number               Street



                      Roswell, GA 30076
                      City               State             Zip Code


   Contact phone      (312) 346-9088 X5174                                                          Email      Toni.Townsend@mccalla.com




Form 4100R                                          Response to Notice of Final Cure Payment                                                            Page | 2
 Case 17-13179-amc         Doc     Filed 07/19/24 Entered 07/19/24 17:00:27             Desc Main
                                   Document      Page 3 of 6



                                           Bankruptcy Case No.:                17-13179-amc
In Re:   Christopher R Smialowski          Chapter:                            13
         Michelle Smialowski               Chief Judge:                        Ashely M. Chan
                               CERTIFICATE OF SERVICE

   I, Toni Townsend, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
   Roswell, GA 30076, certify:

   That I am, and at all times hereinafter mentioned, was more than 18 years of age;

   That on the date below, I caused to be served a copy of the within Response to Notice of Final
   Cure Payment filed in this bankruptcy matter on the following parties at the addresses shown,
   by regular United States Mail, with proper postage affixed, unless another manner of service is
   expressly indicated:

Christopher R Smialowski
3013 Belgrade Street
Philadelphia, PA 19134

Michelle Smialowski
3013 Belgrade Street
Philadelphia, PA 19134

MICHAEL I. ASSAD                               (served via ECF Notification)
Cibik Law, P.C.
1500 Walnut St., Ste 900
Philadelphia, PA 19102

Kenneth E. West, Trustee                       (served via ECF Notification)
Office of the Chapter 13 Standing Trustee
1234 Market Street - Suite 1813
19107, PA 19107

Office of the U.S. Trustee        (served via ECF Notification)
Robert N.C. Nix Federal Building
Suite 320
Philadelphia, PA 19107
       I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:      07/19/2024     By:       /s/Toni Townsend
                    (date)                 Toni Townsend,
                                           Authorized Agent for the Creditor




Form 4100R                       Response to Notice of Final Cure Payment                            Page | 3
    Case 17-13179-amc             Doc      Filed 07/19/24 Entered 07/19/24 17:00:27                Desc Main
BK Filed date: 5/3/17                            Fay Servicing,
                                           Document         PageLLC4 of 6
Debtor name: SMIALOWSKI                     Post Petition Payment Ledger
                                                                                    To/From       Suspense
Pmt Due/Comments              Amt Due     Date Received Amt Rec'd    Pmt Satisified Suspense      Balance
Begin Suspense                                                                       $       -     $       -
                              $    781.47   5/19/2017    $    781.47   6/1/2017      $       -     $       -
                              $    781.47   6/2/2017     $    781.47   7/1/2017      $       -     $       -
                              $    781.47   9/9/2017     $    781.47   8/1/2017      $       -     $       -
                              $    781.47 10/27/2017 $        781.47   9/1/2017      $       -     $       -
                              $    781.47 11/27/2017 $        781.47  10/1/2017      $       -     $       -
                              $    781.47   1/12/2018    $    781.47  11/1/2017      $       -     $       -
                              $    781.47   3/29/2018 $ 3,907.35      12/1/2017 $ 3,125.88 $ 3,125.88
                              $    781.47                              1/1/2018      $   (781.47) $ 2,344.41
                              $    781.47                              2/1/2018      $   (781.47) $ 1,562.94
                              $    781.47                              3/1/2018      $   (781.47) $     781.47
                              $    781.47                              4/1/2018      $   (781.47) $        -
       Attorney Fees          $ 1,031.00                                             $ (1,031.00) $ (1,031.00)
   As per agreed order, Total Arrears are $1,031.00. Debtor is to cure default by papying
                          171.83 5/1 - 9/1/18 & 171.85 10/1/18.                                          $    -
                               $      781.47     5/7/2018      $      781.47      5/1/2018    $    -     $    -
                               $      171.83     5/7/2018      $      171.83 Stip 5/1/2018    $    -     $    -
                               $      781.47     6/8/2018      $      781.47      6/1/2018    $    -     $    -
                               $      171.83     6/8/2018      $      171.83 Stip 6/1/2018    $    -     $    -
                               $      781.47    7/19/2018      $      781.47      7/1/2018    $    -     $    -
                               $      171.83    7/19/2018      $      171.83 Stip 7/1/2018    $    -     $    -
                               $      781.47    8/28/2018      $      781.47      8/1/2018    $    -     $    -
                               $      171.83    8/28/2018      $      171.83 Stip 8/1/2018    $    -     $    -
                               $      781.47    9/26/2018      $      781.47      9/1/2018    $    -     $    -
                               $      171.83    9/26/2018      $      171.83 Stip 9/1/2018    $    -     $    -
                               $      781.47 10/26/2018 $             781.47     10/1/2018    $    -     $    -
                               $      171.85 10/26/2018 $             171.85 Stip 10/1/2018   $    -     $    -
                               $      781.47    11/8/2018      $      781.47     11/1/2018    $    -     $    -
                               $      781.47 12/19/2018 $             781.47     12/1/2018    $    -     $    -
                               $      781.47    1/31/2019      $      781.47      1/1/2019    $    -     $    -
                               $      781.47    2/26/2019      $      781.47      2/1/2019    $    -     $    -
                               $      781.47     4/8/2019      $      781.47      3/1/2019    $    -     $    -
                               $      781.47    4/25/2019      $      781.47      4/1/2019    $    -     $    -
                               $      781.47    6/28/2019      $      781.47      5/1/2019    $    -     $    -
                               $      781.47     7/9/2019      $      781.47      6/1/2019    $    -     $    -
                               $      781.47    7/31/2019      $      781.47      7/1/2019    $    -     $    -
                               $      781.47     9/6/2019      $      781.47      8/1/2019    $    -     $    -
                               $      781.47    9/30/2019      $      781.47      9/1/2019    $    -     $    -
                               $      781.47 10/29/2019 $             781.47     10/1/2019    $    -     $    -
                               $      781.47    12/3/2019      $      781.97     11/1/2019    $   0.50   $   0.50
                               $      781.47 12/23/2019 $             781.47     12/1/2019    $    -     $   0.50
                               $      781.47    1/21/2020      $      781.47      1/1/2020    $    -     $   0.50
                               $      781.47     3/3/2020      $      781.47      2/1/2020    $    -     $   0.50
                               $      781.47     4/6/2020      $      781.47      3/1/2020    $    -     $   0.50
                               $      781.47    4/27/2020      $      781.47      4/1/2020    $    -     $   0.50
    Case 17-13179-amc         Doc       Filed 07/19/24 Entered 07/19/24 17:00:27           Desc Main
BK Filed date: 5/3/17                         Fay Servicing,
                                        Document         PageLLC5 of 6
Debtor name: SMIALOWSKI                 Post Petition Payment Ledger
                          $    781.47      5/28/2020   $     781.47     5/1/2020   $       -    $       0.50
                          $    781.47      6/26/2020   $     781.47     6/1/2020   $       -    $       0.50
                          $    781.47      7/29/2020   $     781.47     7/1/2020   $       -    $       0.50
                          $    781.47      8/28/2020   $     782.00     8/1/2020   $      0.53 $        1.03
                          $    781.47      9/24/2020   $     781.47     9/1/2020   $       -    $       1.03
                          $    781.47     10/29/2020   $     782.00    10/1/2020   $      0.53 $        1.56
                          $    781.47     11/27/2020   $     782.00    11/1/2020   $      0.53 $        2.09
                          $    781.47      1/5/2021    $     781.47    12/1/2020   $       -    $       2.09
                          $    781.47      1/8/2021    $     781.47     1/1/2021   $       -    $       2.09
                          $    781.47      2/26/2021   $     782.00     2/1/2021   $      0.53 $        2.62
                          $    781.47      3/31/2021   $     782.00     3/1/2021   $      0.53 $        3.15
                          $    781.47      4/30/2021   $     782.00     4/1/2021   $      0.53 $        3.68
                          $    781.47      6/14/2021   $     782.00     5/1/2021   $      0.53 $        4.21
                          $    781.47      6/16/2021   $     782.00     6/1/2021   $      0.53 $        4.74
                          $    781.47      8/7/2021    $     782.00     7/1/2021   $      0.53 $        5.27
                          $    781.47      9/25/2021   $     782.00     8/1/2021   $      0.53 $        5.80
                          $    781.47      11/1/2021   $   1,554.00     9/1/2021   $    772.53 $      778.33
                          $    781.47     12/18/2021   $   1,565.00    10/1/2021   $    783.53 $    1,561.86
                          $    781.47                                  11/1/2021   $   (781.47) $     780.39
                          $    781.47     1/13/2022    $    782.00     12/1/2021   $      0.53 $      780.92
                          $    781.47     2/22/2022    $    782.00      1/1/2022   $      0.53 $      781.45
                          $    781.47     3/8/2022     $    782.00      2/1/2022   $      0.53 $      781.98
                          $    781.47                                   3/1/2022   $   (781.47) $       0.51
                          $    781.47     5/2/2022     $     782.00     4/1/2022   $      0.53 $        1.04
                          $    781.47     5/31/2022    $     782.00     5/1/2022   $      0.53 $        1.57
                          $    781.47     7/8/2022     $     782.00     6/1/2022   $      0.53 $        2.10
                          $    781.47     8/31/2022    $   1,564.00     7/1/2022   $    782.53 $      784.63
                          $    781.47                                   8/1/2022   $   (781.47) $       3.16
                          $    781.47     10/27/2022   $     782.00     9/1/2022   $      0.53 $        3.69
                          $    781.47      12/9/2022   $     782.00    10/1/2022   $      0.53 $        4.22
                          $    781.47      1/6/2023    $     782.00    11/1/2022   $      0.53 $        4.75
                          $    781.47      1/19/2023   $     782.00    12/1/2022   $      0.53 $        5.28
                          $    781.47      2/3/2023    $     782.00     1/1/2023   $      0.53 $        5.81
                          $    781.47      5/12/2023   $     782.00     2/1/2023   $      0.53 $        6.34
                          $    781.47      6/8/2023    $     782.00     3/1/2023   $      0.53 $        6.87
                          $    781.47      6/23/2023   $     782.00     4/1/2023   $      0.53 $        7.40
                          $    781.47      7/7/2023    $   1,564.00     5/1/2023   $    782.53 $      789.93
                          $    781.47                                   6/1/2023   $   (781.47) $       8.46
                          $    781.47     7/20/2023   $      782.00     7/1/2023   $      0.53 $        8.99
                          $    781.47       8/31/2023 $      782.00     8/1/2023   $      0.53 $        9.52
                          $    781.47      10/13/2023 $    1,564.00     9/1/2023   $    782.53 $      792.05
                          $    781.47      10/17/2023                  10/1/2023   $   (781.47) $      10.58
                          $    781.47       12/8/2023 $    1,564.00    11/1/2023   $    782.53 $      793.11
                          $    781.47      12/12/2023                  12/1/2023   $   (781.47) $      11.64
                          $    781.47       1/31/2024 $     782.00     1/1/2024    $      0.53 $       12.17
                          $    781.47       3/15/2024 $     782.00     2/1/2024    $      0.53 $       12.70
                          $    781.47       3/29/2024 $     782.00     3/1/2024    $      0.53 $       13.23
    Case 17-13179-amc        Doc        Filed 07/19/24 Entered 07/19/24 17:00:27           Desc Main
BK Filed date: 5/3/17                         Fay Servicing,
                                        Document         PageLLC6 of 6
Debtor name: SMIALOWSKI                 Post Petition Payment Ledger
                         $     781.47      5/10/2024 $      782.00     4/1/2024   $      0.53 $      13.76
                         $     781.47      5/24/2024 $      782.00     5/1/2024   $      0.53 $      14.29
                         $     781.47      6/24/2024 $      782.00     6/1/2024   $      0.53 $      14.82
                7/1/2024 $     781.47                                             $   (781.47) $   (766.65)

PPFN's 4/11/18, 6/8/18,
6/22/18 -left over balance $ 1,736.84                                             $ (1,736.84) $ (2,503.49)
PPFN 4/30/24               $ 2,048.67                                             $ (2,048.67) $ (4,552.16)
